Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 1 of 15 Page ID #:287



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    8                       UNITED STATES DISTRICT COURT

    9                     CENTRAL DISTRICT OF CALIFORNIA
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        MARINA JACKSON                               Case No. 2:21-CV-02140 RGK (JPRx)
   11                   Plaintiff,
   12   v.                                           STIPULATED PROTECTIVE
        LOWE’S HOME CENTERS, LLC;                    ORDER
   13   LOWE S H I W INC.; MERLONE
   14   GEIER PARTNERS, L.P. AND
        DOES 1 TO 20, INCLUSIVE,
   15                   Defendants.
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   19   1.   INTRODUCTION
   20        1.1    PURPOSES AND LIMITATIONS
   21         Discovery in this action may involve production of confidential,
   22   proprietary, or private information for which special protection from public
   23   disclosure and from use for any purpose other than prosecuting this litigation
   24   may be warranted. Accordingly, the Parties hereby stipulate to and petition the
   25   Court to enter the following Stipulated Protective Order. The Parties
   26   acknowledge that this Order does not confer blanket protections on all
   27   disclosures or responses to discovery and that the protection it affords from
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 2 of 15 Page ID #:288



    1   public disclosure and use extends only to the limited information or items that
    2   are entitled to confidential treatment under the applicable legal principles. The
    3   Parties further acknowledge, as set forth in Section 12.3 below, that this Order
    4   does not entitle them to file Confidential Information under seal; Civil Local
    5   Rule 79-5 sets forth the procedures that must be followed and the standards that
    6   will be applied when a Party seeks permission from the Court to file material
    7   under seal.
    8          1.2 GOOD CAUSE STATEMENT
    9          Federal Rules of Civil Procedure, Rule 26(c)(1) states in pertinent part, that
   10   the Court, upon a showing of good cause may “issue an order to protect a party
   11   from    annoyance,     embarrassment,     oppression,    or    undue    burden      or
   12   expense.” Fed.R.Civ.P. 26(c)(1). In the instant matter, Defendant Lowe’s Home
   13   Centers, LLC’s Confidential Documents contain proprietary and confidential trade
   14   secret information relating to Defendant Lowe’s Home Centers, LLC’s business
   15   practices and its safety protocol. Defendant Lowe’s Home Centers, LLC.
   16   (“Defendant” or “Lowe’s”) derives independent economic value from maintaining
   17   the confidentiality of the policies and procedures set forth in these Confidential
   18   Documents.
   19          Defendant is a retailer in the home improvement industry and has conducted
   20   business in California since 1998. The home improvement retail industry is very
   21   competitive. As a result of years of investing time and money in research and
   22   investigation, Defendant developed the policies contained in the Confidential
   23   Documents for the purposes of maintaining the security and accessibility of its
   24   merchandise, providing quality customer service, and ensuring the safety of its
   25   employees and customers. These policies and procedures, as memorialized in the
   26   Confidential Documents, were created and generated by Lowe’s for Lowe’s, and
   27   are used for the purposes of maintaining safety at its stores and creating efficient
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 3 of 15 Page ID #:289



    1   and organized work environments for its employees. As a result, Defendant is
    2   able to minimize the waste of any resources, which is a key factor in generating
    3   profitability for its business.
    4          Defendant derives economic value from maintaining the secrecy of its
    5   Confidential Documents. If disclosed to the public, the trade secret information
    6   contained in Defendant’s Confidential Documents would reveal Defendant’s
    7   internal operations and could potentially be used by competitors as a means to
    8   compete for its customers, interfere with its business plans and thereby gain
    9   unfair business advantages. If Defendant’s safety protocol were revealed to the
   10   general public, it would hinder Defendant’s ability to effectively resolve and
   11   minimize liability claims, and its goal of protecting its customers and employees
   12   from theft and other crimes. Unrestricted or unprotected disclosure of such
   13   information would result in prejudice or harm to Defendant by revealing Lowe’s
   14   competitive confidential information, which has been developed at the expense
   15   of Lowe’s and which represents valuable tangible and intangible
   16   assets. Accordingly, the parties respectfully submit that there is good cause for
   17   the entry of this Protective Order.
   18   2.    DEFINITIONS
   19          2.1 Action: This pending lawsuit.
   20          2.2 Challenging Party: a Party or Nonparty that challenges the
   21   designation of information or items under this Order.
   22         2.3    “CONFIDENTIAL” Information or Items: information (regardless
   23   of how it is generated, stored, or maintained) or tangible things that qualify for
   24   protection under Federal Rule of Civil Procedure 26(c) and as specified above in
   25   the Good Cause Statement. [Note: any request for a two-tiered, attorney-eyes-
   26   only protective order that designates certain material as “Highly Confidential”
   27   requires a separate, detailed showing of need.]
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                                 STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 4 of 15 Page ID #:290



    1        2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
    2   their support staff).
    3        2.5       Designating Party: a Party or Nonparty that designates information
    4   or items that it produces in disclosures or in responses to discovery as
    5   “CONFIDENTIAL.”
    6        2.6       Disclosure or Discovery Material: all items or information,
    7   regardless of the medium or manner in which it is generated, stored, or
    8   maintained (including, among other things, testimony, transcripts, and tangible
    9   things), that are produced or generated in disclosures or responses to discovery in
   10   this matter.
   11        2.7       Expert: a person with specialized knowledge or experience in a
   12   matter pertinent to the litigation who has been retained by a Party or its counsel
   13   to serve as an expert witness or as a consultant in this action.
   14        2.8       House Counsel: attorneys who are employees of a Party to this
   15   Action. House Counsel does not include Outside Counsel of Record or any other
   16   outside counsel.
   17        2.9       Nonparty: any natural person, partnership, corporation, association,
   18   or other legal entity not named as a Party to this action.
   19        2.10 Outside Counsel of Record: attorneys who are not employees of a
   20   Party to this Action but are retained to represent or advise a Party and have
   21   appeared in this Action on behalf of that Party or are affiliated with a law firm
   22   that has appeared on behalf of that Party, including support staff.
   23        2.11 Party: any Party to this Action, including all of its officers, directors,
   24   employees, consultants, retained experts, and Outside Counsel of Record (and
   25   their support staffs).
   26        2.12 Producing Party: a Party or Nonparty that produces Disclosure or
   27   Discovery Material in this Action.
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                                  STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 5 of 15 Page ID #:291



    1        2.13 Professional Vendors: persons or entities that provide litigation
    2   support services (for example, photocopying, videotaping, translating, preparing
    3   exhibits or demonstrations, and organizing, storing, or retrieving data in any
    4   form or medium) and their employees and subcontractors.
    5        2.14 Protected Material: any Disclosure or Discovery Material that is
    6   designated as “CONFIDENTIAL.”
    7        2.15 Receiving Party: a Party that receives Disclosure or Discovery
    8   Material from a Producing Party.
    9   3.   SCOPE
   10         The protections conferred by this Stipulation and Order cover not only
   11   Protected Material (as defined above) but also any information copied or
   12   extracted from Protected Material; all copies, excerpts, summaries, or
   13   compilations of Protected Material; and any testimony, conversations, or
   14   presentations by Parties or their Counsel that might reveal Protected Material.
   15         Any use of Protected Material at trial will be governed by the orders of the
   16   trial judge. This Order does not govern the use of Protected Material at trial.
   17   4.   DURATION
   18        Even after final disposition of this litigation, the confidentiality obligations
   19   imposed by this Order will remain in effect until a Designating Party agrees
   20   otherwise in writing or a court order otherwise directs. Final disposition is the
   21   later of (1) dismissal of all claims and defenses in this Action, with or without
   22   prejudice, or (2) final judgment after the completion and exhaustion of all
   23   appeals, rehearings, remands, trials, or reviews of this Action, including the time
   24   limits for filing any motions or applications for extension of time under
   25   applicable law.
   26   5.   DESIGNATING PROTECTED MATERIAL
   27         5.1 Each Party or Nonparty that designates information or items for
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 6 of 15 Page ID #:292



    1   protection under this Order must take care to limit any such designation to
    2   specific material that qualifies under the appropriate standards. The Designating
    3   Party must designate for protection only those parts of material, documents,
    4   items, or oral or written communications that qualify so that other portions of the
    5   material, documents, items, or communications for which protection is not
    6   warranted are not swept unjustifiably within the ambit of this Order.
    7         Mass, indiscriminate, or routinized designations are prohibited.
    8   Designations that are shown to be clearly unjustified or that have been made for
    9   an improper purpose (for example, to unnecessarily encumber the case-
   10   development process or to impose unnecessary expenses and burdens on other
   11   parties) may expose the Designating Party to sanctions.
   12        If it comes to a Designating Party’s attention that information or items it
   13   designated for protection do not qualify for that level of protection, that
   14   Designating Party must promptly notify all other Parties that it is withdrawing
   15   the inapplicable designation.
   16         5.2 Except as otherwise provided in this Order, Disclosure or Discovery
   17   Material that qualifies for protection under this Order must be clearly so
   18   designated before the material is disclosed or produced.
   19         Designation in conformity with this Order requires the following:
   20         (a) for information in documentary form (for example, paper or electronic
   21   documents but excluding transcripts of depositions or other pretrial or trial
   22   proceedings), the Producing Party must affix at a minimum the legend
   23   “CONFIDENTIAL” to each page that contains Protected Material. If only a
   24   portion or portions of the material on a page qualify for protection, the Producing
   25   Party must clearly identify the protected portion(s) (for example, by making
   26   appropriate markings in the margins).
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 7 of 15 Page ID #:293



    1               A Party or Nonparty that makes original documents available for
    2   inspection need not designate them for protection until after the inspecting Party
    3   has indicated which documents it would like copied and produced. During the
    4   inspection and before the designation, all material made available for inspection
    5   must be treated as “CONFIDENTIAL.” After the inspecting Party has identified
    6   the documents it wants copied and produced, the Producing Party must
    7   determine which documents, or portions thereof, qualify for protection under this
    8   Order. Then, before producing the specified documents, the Producing Party
    9   must affix the “CONFIDENTIAL” legend to each page that contains Protected
   10   Material. If only a portion or portions of the material on a page qualify for
   11   protection, the Producing Party also must clearly identify the protected portion(s)
   12   (for example, by making appropriate markings in the margins).
   13               (b) for testimony given in depositions, the Designating Party must
   14        identify the Disclosure or Discovery Material that is protected on the
   15        record, before the close of the deposition.
   16               (c) for information produced in some form other than documentary
   17        and for any other tangible items, the Producing Party must affix in a
   18        prominent place on the exterior of the container or containers in which the
   19        information is stored the legend “CONFIDENTIAL.” If only a portion or
   20        portions of the information warrant protection, the Producing Party, to the
   21        extent practicable, must identify the protected portion(s).
   22         5.3 If timely corrected, an inadvertent failure to designate qualified
   23   information or items does not, standing alone, waive the Designating Party’s
   24   right to secure protection under this Order for that material. On timely correction
   25   of a designation, the Receiving Party must make reasonable efforts to assure that
   26   the material is treated in accordance with the provisions of this Order.
   27   6.   CHALLENGING CONFIDENTIALITY DESIGNATIONS
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 8 of 15 Page ID #:294



    1         6.1 Any Party or Nonparty may challenge a designation of
    2   confidentiality at any time consistent with the Court’s scheduling order.
    3         6.2 The Challenging Party must initiate the dispute-resolution process
    4   (and, if necessary, file a discovery motion) under Local Rule 37.
    5         6.3 The burden of persuasion in any such proceeding is on the
    6   Designating Party. Frivolous challenges, and those made for an improper
    7   purpose (for example, to harass or impose unnecessary expenses and burdens on
    8   other parties), may expose the Challenging Party to sanctions. Unless the
    9   Designating Party has waived or withdrawn the confidentiality designation, all
   10   parties must continue to afford the material in question the level of protection to
   11   which it is entitled under the Producing Party’s designation until the Court rules
   12   on the challenge.
   13   7.   ACCESS TO AND USE OF PROTECTED MATERIAL
   14         7.1 A Receiving Party may use Protected Material that is disclosed or
   15   produced by another Party or by a Nonparty in connection with this Action only
   16   for prosecuting, defending, or attempting to settle this Action. Such Protected
   17   Material may be disclosed only to the categories of people and under the
   18   conditions described in this Order. When the Action has been terminated, a
   19   Receiving Party must comply with the provisions of Section 13 below (FINAL
   20   DISPOSITION).
   21         Protected Material must be stored and maintained by a Receiving Party at
   22   a location and in a manner sufficiently secure to ensure that access is limited to
   23   the people authorized under this Order.
   24         7.2 Unless otherwise ordered by the Court or permitted in writing by the
   25   Designating Party, a Receiving Party may disclose any information or item
   26   designated “CONFIDENTIAL” only to the following people:
   27         (a) the Receiving Party’s Outside Counsel of Record in this Action, as
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 9 of 15 Page ID #:295



    1   well as employees of that Outside Counsel of Record to whom it is reasonably
    2   necessary to disclose the information for this Action;
    3         (b) the officers, directors, and employees (including House Counsel) of
    4   the Receiving Party to whom disclosure is reasonably necessary for this Action;
    5         (c) Experts (as defined in this Order) of the Receiving Party to whom
    6   disclosure is reasonably necessary for this Action and who have signed the
    7   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    8         (d) the Court and its personnel;
    9         (e) court reporters and their staff;
   10         (f) professional jury or trial consultants, mock jurors, and Professional
   11   Vendors to whom disclosure is reasonably necessary for this Action and who
   12   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   13         (g) the author or recipient of a document containing the information or a
   14   custodian or other person who otherwise possessed or knew the information;
   15         (h) during their depositions, witnesses and attorneys for witnesses to
   16   whom disclosure is reasonably necessary, provided that the deposing party
   17   requests that the witness sign the form attached as Exhibit A hereto and the
   18   witnesses will not be permitted to keep any confidential information unless they
   19   sign the form, unless otherwise agreed by the Designating Party or ordered by
   20   the Court. Pages of transcribed deposition testimony or exhibits to depositions
   21   that reveal Protected Material may be separately bound by the court reporter and
   22   may not be disclosed to anyone except as permitted under this Order; and
   23         (i) any mediator or settlement officer, and their supporting personnel,
   24   mutually agreed on by any of the Parties engaged in settlement discussions or
   25   appointed by the Court.
   26   8.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   27   IN OTHER LITIGATION
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                                STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 10 of 15 Page ID #:296



     1         If a Party is served with a subpoena or a court order issued in other
     2   litigation that compels disclosure of any information or items designated in this
     3   Action as “CONFIDENTIAL,” that Party must
     4         (a) promptly notify in writing the Designating Party. Such notification
     5   must include a copy of the subpoena or court order unless prohibited by law;
     6         (b) promptly notify in writing the party who caused the subpoena or order
     7   to issue in the other litigation that some or all of the material covered by the
     8   subpoena or order is subject to this Protective Order. Such notification must
     9   include a copy of this Order; and
    10         (c) cooperate with respect to all reasonable procedures sought to be
    11   pursued by the Designating Party whose Protected Material may be affected.
    12         If the Designating Party timely seeks a protective order, the Party served
    13   with the subpoena or court order should not produce any information designated
    14   in this action as “CONFIDENTIAL” before a determination on the protective-
    15   order request by the relevant court unless the Party has obtained the Designating
    16   Party’s permission. The Designating Party bears the burden and expense of
    17   seeking protection of its Confidential Material, and nothing in these provisions
    18   should be construed as authorizing or encouraging a Receiving Party in this
    19   Action to disobey a lawful directive from another court.
    20   9.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
    21   PRODUCED IN THIS LITIGATION
    22        (a) The terms of this Order are applicable to information produced by a
    23   Nonparty in this Action and designated as “CONFIDENTIAL.” Such
    24   information is protected by the remedies and relief provided by this Order.
    25   Nothing in these provisions should be construed as prohibiting a Nonparty from
    26   seeking additional protections.
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                                 STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 11 of 15 Page ID #:297



     1        (b) In the event that a Party is required by a valid discovery request to
     2   produce a Nonparty’s Confidential Information in its possession and the Party is
     3   subject to an agreement with the Nonparty not to produce the Nonparty’s
     4   Confidential Information, then the Party must
     5               (1) promptly notify in writing the Requesting Party and the
     6   Nonparty that some or all of the information requested is subject to a
     7   confidentiality agreement with a Nonparty;
     8               (2) promptly provide the Nonparty with a copy of this Order, the
     9   relevant discovery request(s), and a reasonably specific description of the
    10   information requested; and
    11               (3) make the information requested available for inspection by the
    12   Nonparty, if requested.
    13        (c) If the Nonparty fails to seek a protective order within 21 days of
    14   receiving the notice and accompanying information, the Receiving Party may
    15   produce the Nonparty’s Confidential Information responsive to the discovery
    16   request. If the Nonparty timely seeks a protective order, the Receiving Party
    17   must not produce any information in its possession or control that is subject to
    18   the confidentiality agreement with the Nonparty before a ruling on the
    19   protective-order request. Absent a court order to the contrary, the Nonparty must
    20   bear the burden and expense of seeking protection of its Protected Material.
    21   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    22        If a Receiving Party learns that by inadvertence or otherwise, it has
    23   disclosed Protected Material to any person or in any circumstance not authorized
    24   under this Order, the Receiving Party must immediately notify the Designating
    25   Party in writing of the unauthorized disclosures, use its best efforts to retrieve all
    26   unauthorized copies of the Protected Material, inform the person or people to
    27   whom unauthorized disclosures were made of the terms of this Order, and ask
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                                   STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 12 of 15 Page ID #:298



     1   that person or people to execute the “Acknowledgment and Agreement to Be
     2   Bound” that is attached hereto as Exhibit A.
     3   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
     4   PROTECTED MATERIAL
     5         When a Producing Party gives notice to Receiving Parties that certain
     6   inadvertently produced material is subject to a claim of privilege or other
     7   protection, the obligations of the Receiving Parties are those set forth in Federal
     8   Rule of Civil Procedure 26(b)(5)(B).
     9   12. MISCELLANEOUS
    10         12.1 Nothing in this Order abridges the right of any person to seek its
    11   modification by the Court.
    12         12.2 By stipulating to the entry of this Order, no Party waives any right it
    13   otherwise would have to object to disclosing or producing any information or
    14   item on any ground not addressed in this Order. Similarly, no Party waives any
    15   right to object on any ground to use in evidence of any of the material covered by
    16   this Order.
    17         12.3 A Party that seeks to file under seal any Protected Material must
    18   comply with Civil Local Rule 79-5. Protected Material may be filed under seal
    19   only pursuant to a court order authorizing the sealing of the specific Protected
    20   Material at issue. If a Party's request to file Protected Material under seal is
    21   denied, then the Receiving Party may file the information in the public record
    22   unless otherwise instructed by the Court.
    23   13. FINAL DISPOSITION
    24         After the final disposition of this Action, as defined in paragraph 4, within
    25   60 days of a written request by the Designating Party, each Receiving Party must
    26   return all Protected Material to the Producing Party or destroy such material. As
    27   used in this subdivision, “all Protected Material” includes all copies, abstracts,
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                                 STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 13 of 15 Page ID #:299



     1   compilations, summaries, and any other format reproducing or capturing any of
     2   the Protected Material. Whether the Protected Material is returned or destroyed,
     3   the Receiving Party must submit a written certification to the Producing Party
     4   (and, if not the same person or entity, to the Designating Party) by the 60-day
     5   deadline that identifies (by category, when appropriate) all the Protected Material
     6   that was returned or destroyed and affirms that the Receiving Party has not
     7   retained any copies, abstracts, compilations, summaries, or any other format
     8   reproducing or capturing any of the Protected Material. Notwithstanding this
     9   provision, Counsel are entitled to retain an archival copy of all pleadings; motion
    10   papers; trial, deposition, and hearing transcripts; legal memoranda;
    11   correspondence; deposition and trial exhibits; expert reports; attorney work
    12   product; and consultant and expert work product even if such materials contain
    13   Protected Material. Any such archival copies that contain or constitute Protected
    14   Material remain subject to this Order as set forth in Section 4 (DURATION).
    15   14. SANCTIONS
    16         Any willful violation of this Order may be punished by civil or criminal
    17   contempt, financial or evidentiary sanctions, reference to disciplinary authorities,
    18   or other appropriate action at the discretion of the Court.
    19
    20   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    21
    22   DATED: November 1, 2021                /s/ Krystale Rosal
    23                                          Krystale Rosal
                                                Attorneys for Plaintiff
    24
    25
         DATED: November 2, 2021                /s/ Vincent Maeder
    26                                          Vincent Maeder
    27                                          Attorneys for Defendant
                                                DIVISIONS, INC.
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                                 STIPULATED PROTECTIVE ORDER
Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 14 of 15 Page ID #:300



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     2   DATED: November 2, 2021                /s/ Probal G. Young
     3                                          Probal G. Young
                                                Attorneys for Defendant
     4                                          LOWE’S HOME CENTERS, LLC
     5
     6
                                SIGNATURE CERTIFICATION
     7
               I, Probal Young, hereby attest pursuant to Civil Local Rule 5-4.3.4 that all
     8
         signatories listed, and on whose behalf this filing is submitted, concur in the
     9
         contents of this filing and have authorized the filing.
    10
               Executed this 2nd day of November, 2021, at Irvine, California.
    11
    12                                          /s/ Probal G. Young
                                                Probal G. Young
    13
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    15
         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
    16
    17
    18   Dated: November 15, 2021
    19                                          Honorable Jean P. Rosenbluth
                                                United States Magistrate Judge
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                                 STIPULATED PROTECTIVE ORDER
         Case 2:21-cv-02140-RGK-JPR Document 31 Filed 11/15/21 Page 15 of 15 Page ID #:301



                      1                                      EXHIBIT A
                      2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                      3
                      4   I, _____________________________, of _________________________,
                      5   declare under penalty of perjury that I have read in its entirety and understand
                      6   the Stipulated Protective Order that was issued by the U.S. District Court for the
                      7   Central District of California on [date] in the case of Jackson v. Lowe’s Home
                      8   Centers, LLC, et al. Case No. 2:21-CV-02140 RGK (JPRx).
                      9        I agree to comply with and to be bound by all terms of this Stipulated
                  10      Protective Order, and I understand and acknowledge that failure to so comply
                  11      could expose me to sanctions and punishment, including contempt. I solemnly
                  12      promise that I will not disclose in any manner any information or item that is
                  13      subject to this Stipulated Protective Order to any person or entity except in strict
                  14      compliance with the provisions of this Order.
                  15            I further agree to submit to the jurisdiction of the U.S. District Court for
                  16      the Central District of California for the purpose of enforcing the terms of this
                  17      Stipulated Protective Order, even if such enforcement proceedings occur after
                  18      termination of this action. I hereby appoint __________________________ of
                  19      _______________________________________ as my California agent for
                  20      service of process in connection with this action or any proceedings related to
                  21      enforcement of this Stipulated Protective Order.
                  22      Date: ______________________________________
                  23      City and State where signed: _________________________________
                  24      Printed name: _______________________________
                  25      Signature: __________________________________
                  26
                  27
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                                                  STIPULATED PROTECTIVE ORDER
